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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________________
SARA COOMBS-MORENO, REMO DELLO IOIO,
ELIZBETH LOIACONO, SUZANNE DEEGAN,
MARITZA ROMERO, JULIA. HARDING, CHRISTINE
O’REILLY, AYSE P. USTARES, JESUS COOMBS,
ANGELA VELEZ, SANCHA BROWNE, ZENA
WOUADJOU, CHARISSE RIDULFO, TRACY-ANN
FRANCIS MARTIN, KAREEM CAMPBELL,
MICHELLE HEMMINGS HARRINGTON, MARK
MAYNE, CARLA GRANT, OPHELA INNISS,
CASSANDRA CHANDLER, AURA MOODY, EVELYN
ZAPATA, SEAN MILAN, SONIA HERNANDEZ,
BRUCE REID, JOSEPH RULLO, AND CURTIS BOYCE,
JOSESPH SAVIANO, MONIQUE MOORE, NATALYA
HOGAN, JESSICA CSEPKU, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO,
RASHEEN ODOM, FRANKIE TROTMAN, EDWARD
WEBER, MERVILYN WALLEN, PAULA SMITH,
SARAH WIESEL SUZANNE SCHROETER, DAWN
SCHOL, LYNDSAY WANSER, CHRISTIAN MURILLO,
MONIQUE MORE, NATALYA HOGAN, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO,
RASHEEN ODOM, SARAH WIESEL, ALTHEA
BRISSETT, TRACEY HOWARD, MARC ROSIELLO,
AUDREY DENNIS, MARIE JOSEPH, TINA LUNCH,
PATRICIA CATOIRE, MARK WHITSETT, SALLY
MUSSAFI, COLETTE CAESAR, BERTRAM SCOTT,
DIANE PAGEN, STELLA M. PRESTON individually and
on behalf of similarly situated individuals,

                           Plaintiffs,
                  v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,
 COMISSIONER ASHWIN VASAN, MD, PHD, FORMER INDEX No.: 1:22 CV 02234-EK-LB
 MAYOR BILL deBLASIO, COMISSIONER ASHWIN
 VASAN, MD, PHD, AND FORMER COMMISSIONER CORRECTED NOTICE OF
 DAVE A. CHOKSHI, M.D., MSC., DEPARTMENT OF INTERLOCUTORY APPEAL
 HEALTH AND MENTAL HYGIENE, DEPARTMENT OF
 EDUCATION, AND DOES 1-20

                           Defendants.
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Notice is hereby given that the following parties:

SARA COOMBS-MORENO, REMO DELLO IOIO, ELIZBETH LOIACONO, SUZANNE
DEEGAN, MARITZA ROMERO, JULIA. HARDING, CHRISTINE O’REILLY, AYSE P.
USTARES, JESUS COOMBS, ANGELA VELEZ, SANCHA BROWNE, ZENA WOUADJOU,
CHARISSE RIDULFO, TRACY-ANN FRANCIS MARTIN, KAREEM CAMPBELL,
MICHELLE HEMMINGS HARRINGTON, MARK MAYNE, CARLA GRANT, OPHELA
INNISS, CASSANDRA CHANDLER, AURA MOODY, EVELYN ZAPATA, SEAN MILAN,
SONIA HERNANDEZ, BRUCE REID, JOSEPH RULLO, AND CURTIS BOYCE, JOSESPH
SAVIANO, MONIQUE MOORE, NATALYA HOGAN, JESSICA CSEPKU, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO, RASHEEN ODOM, FRANKIE
TROTMAN, EDWARD WEBER, MERVILYN WALLEN, PAULA SMITH, SARAH WIESEL
SUZANNE SCHROETER, DAWN SCHOL, LYNDSAY WANSER, CHRISTIAN MURILLO,
MONIQUE MORE, NATALYA HOGAN, ROSEANNE MUSTACCHIA, YULONDA SMITH,
MARIA FIGARO, RASHEEN ODOM, SARAH WIESEL, ALTHEA BRISSETT, TRACEY
HOWARD, MARC ROSIELLO, AUDREY DENNIS, MARIE JOSEPH, TINA LUNCH,
PATRICIA CATOIRE, MARK WHITSETT, SALLY MUSSAFI, COLETTE CAESAR,
BERTRAM SCOTT, DIANE PAGEN, STELLA M. PRESTON

in the above-named case file this “corrected” notice of appeal to correct clerical typographical

errors in the previously filed notice of appeal on October 25, 2024 to the United States Court of

Appeals for the Second Circuit from the order entered on September 25, 2024 and Plaintiffs hereby

requests the Second Circuit to answer the following pure questions of law:

   1. Does the OSH Act under 29 U.S.C. §660 Section 11(c)(1) & (2) provide a private right of

       action to any employee who is wrongfully discharged by any public or private employer for

       exercising their First Amendment Free Exercise religious practice of refusing

       immunization/vaccines, medical treatment or medical testing, which religious practice is

       protected by the statutory provision of the OSH Act under 29 U.S.C. §669 Section 20(a)(5);

   2. Does Section 1983 provide a private right of action for monetary and injunctive relief

       against the enforcement of a New York City vaccine mandate municipal law that:

           a. violates the First Amendment Free Exercise Clause under both the strict scrutiny

               and rational basis tests; and
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          b. violates the federal OSH Act Preemption Clause under 29 USC §667 Sec. 18(a) and

              the OSH Act anti-discrimination clause under 29 U.S.C. §660 Section 11(c)(1) and

              the anti-vaccine mandate clause under 29 U.S.C. §669 Section 20(a)(5);

   3. Should expert affidavits and plaintiffs affidavits attached to a complaint containing

      evidence to prove an essential element of a Plaintiffs claim and relied upon in a complaint

      through an incorporation by reference be considered a “written instrument” under FRCP

      Rule 10(a) and reviewed and considered as part of a complaint on a motion to dismiss; and

   4. Does Judicial Canon 3B6 of the Code of Conduct for United States Judges require a district

      court judge to at least hold a hearing to investigate and interrogate through questioning of a

      lawyer on the record who has been charged by an opposing lawyer for committing fraud on

      the court under FRCP Rule 11 and Rule 60(b)(3) for making a legal contention that was

      legally indefensible and groundless in law for which s judge is provided evidence

      indicating the likelihood of unprofessional conduct by the offending lawyer; and

   5. Is it a breach of Judicial Canon 3A(2) for a federal district court judge to dismiss a case for

      failure to state a claim without ever providing the Plaintiff the right to be heard during the

      entire 2 and ½ year pendency of the case on all prior pending motions?




October 27, 2024                                     Respectfully submitted,
                                                     /s/ Jo Saint-George
                                                     _____________________________
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                                                     Women of Color for Equal Justice
                                                     Co-Counsel for Class Plaintiffs
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